8:05-cr-00252-BCB-MDN       Doc # 171    Filed: 10/17/13     Page 1 of 1 - Page ID # 579




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )               CASE NO. 8:05CR252
                                           )
             Plaintiff,                    )
                                           )                     ORDER
             vs.                           )
                                           )
JUAN D. RESENDIZ, JR.,                     )
                                           )
             Defendant.                    )


      This matter is before the Court on the government’s Motion For Dismissal (Filing

No. 170). Under Federal Rule of Criminal Procedure 48(a), leave of court is granted for

the dismissal of the Indictment, without prejudice, against the above-named Defendant.

      IT IS ORDERED that the government’s Motion For Dismissal (Filing No. 170) is

granted.

      DATED this 17th day of October, 2013.

                                               BY THE COURT:


                                               s/Laurie Smith Camp
                                               Chief United States District Judge
